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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                            Chapter 11

SRC LIQUIDATION COMPANY, et al., 1                                Case No. 15-10541 (BLS)

                          Debtors.                                (Jointly Administered)

                                                                  Re: Docket No. 1182

     CERTIFICATION OF COUNSEL REGARDING CORRECTED ORDER SUSTAINING
    DEBTORS’ FOURTH (4TH) OMNIBUS (NON-SUBSTANTIVE) OBJECTION TO CLAIMS
              PURSUANT TO SECTION 502 OF THE BANKRUPTCY CODE,
                 BANKRUPTCY RULE 3007 AND LOCAL RULE 3007-1

                 The undersigned hereby certifies as follows:

                 1.       On September 14, 2015, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) filed the Debtors’ Fourth (4th) Omnibus (Non-Substantive) Objection to

Claims Pursuant to Section 502(b) of the Bankruptcy Code, Bankruptcy Rules 3003 and 3007, and

Local Rule 3007-1 [D.I. 1039] (the “Fourth Omnibus Objection”). 2 Responses to the relief requested

in the Fourth Omnibus Objection were required to be filed and served no later than September 28,

2015 at 4:00 p.m. (ET) (the “Objection Deadline”).

                 2.       Prior to the Objection Deadline, the Debtors received informal comments from

Sonar Credit Partners III, LLC (“Sonar”) and Weenas USA, Inc. (“Weenas”). To resolve these

comments, the Debtors agreed to incorporate certain language into a revised form of order sustaining

the Fourth Omnibus Objection.
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         The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: SRC
         Liquidation Company (5440); SR Liquidation Holding Company (3186); SR Liquidation Technologies, Inc.
         (3180); SR Liquidation International, Inc. (1861); iMLiquidation, LLC (6337); SR Liquidation of Puerto Rico Inc.
         (0578); SR Liquidation Mexico Holding Company (1624); Standard Register Holding, S. de R.L. de C.V. (4GR4);
         Standard Register de México, S. de R.L. de C.V. (4FN0); Standard Register Servicios, S. de R.L. de C.V. (43K5);
         and SR Liquidation Technologies Canada ULC (0001). The headquarters for the above-captioned Debtors is
         located at 600 Albany Street, Dayton, Ohio 45417.
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         Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Fourth Omnibus
         Objection.



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                3.    On October 15, 2015, the Court entered the Order Sustaining Debtors’ Fourth

(4th) Omnibus (Non-Substantive) Objection to Claims Pursuant to Section 502 of the Bankruptcy

Code, Bankruptcy Rule 3007 and Local Rule 3007-1 [D.I. 1182] (the “Original Order”), thereby

sustaining the Fourth Omnibus Objection. Inadvertently, the language agreed upon by the Debtors,

Sonar, and Weenas was not included in the Original Order.

                4.    Attached hereto as Exhibit A is a corrected form of order, which incorporates

the language agreed upon by the Debtors, Sonar, and Weenas.

                5.    For the convenience of the Court and all parties in interest, a blackline of the

Corrected Order against the Original Order is attached hereto as Exhibit B.



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                WHEREFORE, the Debtors respectfully request that the Court enter the Corrected

Order without further notice or hearing at the Court’s earliest convenience.

Dated:      October 20, 2015
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                                           Debtors in Possession




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